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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF FLORIDA
CASE NO.
KRISTA SUBLETT,

Plaintiff,

LANDSHARK GROUP, INC., A

Florida Profit Corporation doing business as
LANDSHARK SEAFOOD AND OYSTER
BAR,

Defendant.

 

VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, KRISTA SUBLETT (hereinafter referred to as “Plaintiff” or “Ms.
Sublett”), by and through her undersigned attorney, sue Defendant
LANDSHARK GROUP, INC., A Florida Profit Corporation doing business as
LANDSHARK SEAFOOD AND OYSTER BAR,
(hereinafter referred to as “Defendant”) for damages in excess of $ 75, 000 for violations
of her civil rights occurring during her employment relationship with Defendant.
Plaintiff sues Defendant under Title VII of the Civil Rights Act of 1964 and 1991, as
amended, 42 U.S.C. Section 2000¢ et seq. (“Title VII”), the Civil Rights Act of 1871, as

amended, the Florida Civil Rights Act of 1992, Section 760.01 ef seq., Florida

Statutes (“FCRA”), based on hostile work environment, quid pro quo sexual harassment, and
retaliation, and in support would state as follows:
JURISDICTION AND VENUE
1. This Court has jurisdiction over the subject matter of this lawsuit under 28 U.S.C. §

1337 and Title VII of the Civil Rights Act of 1964, Title 42, United States Code, Section 2000e-

16.

 
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State law claims pursuant to 28 U.S.C. Section 1367. This Court has original jurisdiction
over Plaintiff's claims that arise under federal law and supplemental / pendent
jurisdiction over her related state law claim(s).
3. Plaintiff has exhausted her administrative remedies.
Plaintiff filed a charge of discrimination with the United States Equal Employment Opportunity
Commission (“EEOC”) based upon Sexual Harassment Claims and Retaliation. Plaintiff initiated this
action within ninety (90) days of receipt of the EEOC’s Notice of Right to Sue on filed charges. All
conditions precedent to institution of this action by Plaintiff has been fulfilled.
4, Pursuant to 28 U.S.C. Section 1391, venue of this action is proper in the
Northern District of Florida. Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because
the Defendant is located within this district, because the Defendant
employed Plaintiff in this district, because Defendant made adverse employment

decisions in this district.

PARTIES

5. The Plaintiff, has been an employee with the Defendant on February 6, 2020
until her constructive termination in February, 2020.

6. At all times material hereto, Defendant
is a Florida Corporation within Jackson County, Florida, and it is sui juris.
At all times material hereto, Defendant continuously has been an employer engaged in an industry
effecting commerce within the meaning of Title VII and the Florida Civil Rights Act. See 42 U.S.C.
Section 2003 ef seg., and Section 760.02(7), Florida Statutes.

INTRODUCTION
7. At all times material hereto, Plaintiff was employed by Defendant.
8. Plaintiff race is female.

9. Plaintiff began her employment as a bartender, with owner
 

 

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Shane A. Britt (“Britt”) as her direct supervisor. Britt is listed as owner under

Florida Corporation fictitious name filing for Defendant. The other owners
of the Defendant, were Glinda Hathorn (“Hathorn”) and Flem Houston.

10. Britt began his predatory harassment on the Plaintiff from the inception of her
employment began as a bartender. Britt who closely worked with the Plaintiff, would use his position, to
go behind the bar while the Plaintiff worked, and sexual
harass the Plaintiff.

11. Britt would harass the Plaintiff in the cooler, while she was restocking
the bar, by coming up behind her and rubbing his privates on her. The objections to stop
the continued harassment which went on daily, were ignored by Britt.

12. Britt would make verbal comments regarding the appearance of
the Plaintiff, making comments on the size of her breasts and buttocks. These comments
were made to the Plaintiff on a continued basis and after the Plaintiff would ask him to stop, the
comments still continued.

13. The Plaintiff worked a full five day shift with the Defendant when her employment began.
Britt continued the harassment both physically and verbally, and Plaintiff finally took his actions to owner
Hathorn. Hathorn brushed off the Plaintiff's
complaints.

14. It was after the complaints to Hathorn that Britt became retaliatory against the Plaintiff.
The Plaintiff was removed from the bar as a Bartender, and placed as a server. Her schedule went from
five days to three days after her complaints to Hathorn.

15. Britt retaliated against the Plaintiff to get her to quit with a reduced schedule, and this led
to her constructive termination as a result of her unable to make a living to pay her bills as a result of the
reduction of her schedule.

16. These forced encounters by Britt perpetuated her hostile working environment as
they humiliated and degraded her.

17. Britt’s behavior was ongoing and severe and pervasive and adversely altered her job
 

 

 

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environment.

18. Plaintiff is responsible for the reasonable attorney fees of the undersigned

lawfirm.

COUNT I
Violations of Title Vi-Hostile Work Environment

19. Plaintiff adopts and realigns paragraphs 1-18 above as if
incorporated herein.

20. Plaintiff is a female, and the Defendant willfully discriminated against the Plaintiff by
sexually harassing her, and fostering a hostile work environment.

21. Defendant conduct against the Plaintiff by ignoring her complaints allowed Britt to
continue his predatory harassment against the Plaintiff, and his behavior created a work environment
unbearable for the Plaintiff to continue to work.

22. The effect of the actions complained of as aforementioned has been to
deprive the Plaintiff of equal employment opportunities, and otherwise to
adversely affect her status as an employee.

23. The unlawful employment practices complained of were intentional.

24. The unlawful empioyment practices against the Plaintiff
were done with malice or reckless indifference to the Plaintiff's federally protected rights.

25. Asadirect and proximate result of Defendant’s unlawful employment practices, the
Plaintiff was emotionally harmed, suffered, and will continue to suffer, a loss of wages and other
employment benefits, a ioss of earning capacity, damages to her professional reputation, a loss of dignity,
a loss of the enjoyment of life, embarrassment, humiliation, and other forms of mental anguish and
distress.

Wherefore, Plaintiff demands judgment for damages against
the Defendant, including One Million Dollars ($1, 000, 000) in damages, including but not limited to

compensatory damages, back pay and benefits, future pay and benefits, liquidated damages,
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the Court deems just and proper.

COUNT II
DISCRIMINATION IN VIOLATION OF THE
FLORIDA CIVIL RIGHTS ACT
(HOSTILE WORK ENVIRONMENT)

26. Plaintiff adopts and realigns paragraphs 1-18 above as if incorporated herein.

27. Plaintiff is a female, and the Defendant willfully discriminated against the Plaintiff by
sexually harassing her, and fostering a hostile work environment.

28. Defendant conduct against the Plaintiff by ignoring her complaints allowed Britt to
continue his predatory harassment against the Plaintiff, and his behavior created a work environment
unbearable for the Plaintiff to continue to work.

29. The effect of the actions complained of as aforementioned has been to
deprive the Plaintiff of equal employment opportunities, and otherwise to
adversely affect her status as an employee.

30. | The unlawful employment practices complained of were intentional.

31. The unlawful employment practices against the Plaintiff
were done with malice or reckless indifference to the Plaintiffs state protected rights.

32. Asadirect and proximate result of Defendant’s unlawful employment practices, the
Plaintiff was emotionally harmed, suffered, and will continue to suffer, a loss of wages and other
employment benefits, a loss of earning capacity, damages to her professional reputation, a loss of dignity,
a loss of the enjoyment of life, embarrassment, humiliation, and other forms of mental anguish and
distress.

Wherefore, Plaintiff demands judgment for damages against

the Defendant, including One Million Dollars ($1, 000, 000) in damages, including but not limited to

compensatory damages, back pay and benefits, future pay and benefits, liquidated damages,
 

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punitive damages, prejudgment interest, and attorney's fees and costs, and other available relief as

the Court deems just and proper.

COUNT Il
PLAINTIFF’S CLAIM OF RETALIATION IN VIOLATION OF TITLE VII

33. Plaintiff adopts and realigns paragraphs 1-18 above as if incorporated
herein,

34. That the Defendant retaliated against the Plaintiff as described above
in paragraphs 14, 15 and 16.

35. Defendant’s adverse action of removal of the Plaintiff on the schedule from a
five day to three day schedule was retaliation for her complaints of her sexual
harassment.

36. Asadirect and proximate result of Defendant’s unlawful employment practices, the
Plaintiff was emotionally harmed, suffered, and will continue to suffer, a loss of wages and other
employment benefits, a loss of earning capacity, damages to her professional reputation, a loss of dignity,
a loss of the enjoyment of life, embarrassment, humiliation, and other forms of mental anguish and
distress.

Wherefore, Plaintiff demands judgment for damages against
the Defendant, including One Million Dollars ($1, 000, 000) in damages, including but not limited to
compensatory damages, back pay and benefits, future pay and benefits, liquidated damages,
punitive damages, prejudgment interest, and attorney's fees and costs, and other available relief as

the Court deems just and proper.

DEMAND FOR A JURY TRIAL THIS 15’ DAY OF JUNE, 2020

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Aiscrimination Law Center, P.A.

  
 

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Jay F. Romano
Trial Attorney
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STATE OF FLORIDA )

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COUNTY OF Washingir) Avnody lo 1 AZO

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BEFORE ME the undersigned authority, personally appeared KRISTA
SUBLETT who, after being duly cautioned and sworn deposes and says that he/she
has read the above Complaint attached hereto and that the information contained
Complaint is true and correct.

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NOTARY

 
